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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
Newport News Division
JOANN WRIGHT HAYSBERT,
Plaintiff,
v. CIVIL ACTION NO. 4:20cv121
BLOOMIN’ BRANDS, INC., et al.,
Defendants.
ORDER

This matter comes before the court on Defendants’ Bloomin’
Brands, Inc. (“Bloomin’ Brands”) and Outback Steakhouse of
Florida, LLC (“Outback Steakhouse”) Motion for Summary Judgment,
and Memorandum in Support. ECF Nos. 184, 185. The Plaintiff,
JoAnn Wright Haysbert (“Plaintiff”), filed a Memorandum in
Opposition, and Defendants filed a Reply thereto. ECF Nos. 189,
192. Plaintiff filed a Motion for Summary Judgment and
Memorandum of Points and Authorities in Support, ECF Nos. 187,
188. Defendants filed a Memorandum in Opposition, and
Plaintiff's filed a Reply thereto. ECF No. 191, 193.

On November 19, 2021, the matter was referred to United
States Magistrate Judge Robert J. Krask pursuant to the
provisions of 28 U.S.C. § 636(b) (1) (B) and Federal Rule of Civil
Procedure 72(b), to conduct necessary hearings, including

evidentiary hearings, if necessary, and to submit to the
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undersigned district judge proposed findings of fact, if
applicable, and recommendations for the disposition of the
Motions for Summary Judgment. ECF No. 212. The Magistrate
Judge’s Report and Recommendation (“R&R”), which recommended
denying both Motions for Summary Judgment, was filed on
February 18, 2022. ECF No. 225. In the R&R, the parties were
advised of their right to file written objections to the
findings and recommendations made by the Magistrate Judge within
fourteen (14) days from the date of the mailing of the R&R to
the objecting party. Id. at 22. No objections were filed.

The court ADOPTS AND APPROVES IN FULL the findings and
recommendations set forth in the Magistrate Judge’s R&R filed on
February 18, 2022. Accordingly, Defendants’ Motion for Summary
Judgment, ECF No. 184, and the Plaintiff’s Motion for Summary
Judgment, ECF No. 187, are DENIED.

The Clerk is DIRECTED to contact counsel to set a
Supplemental Rule 16(b) Conference, at which new dew dates for
the Pinal Pretrial Conference and the Jury Trial shall be set.
The Clerk is further DIRECTED to send a copy of this Order to

counsel for all parties.

IT IS SO ORDERED. _Ls/_ A

Rebecca Beach Smith
Senior United States District Judge

REBECCA BEACH SMITH
SENIOR UNITED STATES DISTRICT JUDGE

March || , 2022
